
994 A.2d 895 (2010)
414 Md. 91
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Robert Philip THOMPSON, Respondent.
Misc. Docket AG No. 85 September Term, 2009.
Court of Appeals of Maryland.
May 10, 2010.

ORDER
The Court of Appeals of Maryland, having considered the Joint Petition of the Attorney Grievance Commission and Respondent, Robert Philip Thompson, to place Respondent on Inactive Status by Consent pursuant to Maryland Rule 16-772, it is this 10th day of May, 2010,
ORDERED, that the Joint Petition be, and it is hereby GRANTED, and the Respondent Robert Philip Thompson is hereby placed on Inactive Status by consent; and,
ORDERED, that the Clerk of this Court shall remove the name of Robert Philip Thompson from the register of attorneys in the Court and certify that fact to the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Rule 16-772(d).
